                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
    v.                                            )      No. 3:96-cr-00051
                                                  )      Judge Aleta A. Trauger
MATTHEW OTIS CHARLES                              )


                   RESPONSE TO MOTION FOR REDUCED SENTENCE
                     UNDER SECTION 404 OF THE FIRST STEP ACT

         Matthew Charles has filed a motion for a reduced sentence under Section 404 of the First

Step Act of 2018. (DE# 251.) The government agrees that the newly enacted legislation appears

to provide a lawful basis for the Court to reduce Charles’s sentence. In addition, the government

does not object to the Court exercising its discretion to reduce Charles’s sentence on Counts One,

Four, and Seven to time served.

                                             Discussion

         Section 404 of the First Step Act appears to invest district courts with discretion to reduce

an otherwise final sentence (subject to certain limitations not applicable here), when a defendant

was sentenced for an offense whose penalties were modified by section 2 or 3 of the Fair

Sentencing Act of 2010.1 Charles was convicted at trial of violating 21 U.S.C. §§ 846 and 841(a),

and at sentencing was held responsible for distributing 216 grams of crack cocaine. (DE# 91, PSR,

¶ 42.) At the time, that quantity of crack cocaine corresponded with a statutory range of 10 years

to life, under § 841(b)(1)(A)(iii). Section 2 of the Fair Sentencing Act of 2010 raised the applicable



1
 Because the First Step Act of 2018 was passed so recently, there is no case law interpreting it
yet. In addition, the Department of Justice has not yet issued formal guidance addressing the Act’s
implementation. In a future case, the government reserves the right to amend its position on the
Act in light of case law or DOJ guidance, and nothing it says here should be considered to be the
official litigating position of the United States.
                                                  1

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triggering quantities under § 841(b), such that 216 grams of crack cocaine now corresponds with

a statutory range of 5-40 years. See Pub. L. No. 111-220 § 2(a) (2010). Charles was therefore

sentence for a “covered offense” within the meaning the First Step Act.

       Had the Fair Sentencing Act been “in effect at the time the covered offense was

committed,” see First Step Act of 2018, § 404(b), then Charles’s guidelines range would have been

292-365 months. And while Judge Higgins would almost certainly have imposed a sentence at

least five years above the bottom of that range (see DE# 96, Sentencing Transcript, PageID#: 279-

83), the Court is not bound by Judge Higgins’s assessment as of 1996, and may consider Charles’s

post-sentencing rehabilitation, which has been documented in prior proceedings. In light of that

rehabilitation, and the fact that Charles has already served over 292 months, the government does

not object to Charles’s request that the Court reduce his sentence to time served.

                                           Conclusion

       As the government noted last March, its opposition to a sentence reduction under 18 U.S.C.

§ 3582(c)(2) “had nothing to do with any personal feelings towards Mr. Charles,” and instead

reflected the fact that there was simply no legal basis, under then-current law, for the Court to

reduce his sentence. (DE# 245, Transcript, PageID#: 742.) See United States v. Charles, 901 F.3d

702, 705 (6th Cir. 2018) (explaining that, in light of then-current law, “[t]he federal courts thus

may not provide relief for Charles.”). Because Congress has now enacted a new law that does

appear to make Charles legally eligible for a reduced sentence, the government does not object to

the Court exercising its discretion to reduce Charles’s sentence on Counts One, Four, and Seven

to time served.




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